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     LINDSAY ANNE WESTON
 1   Attorney State Bar NO. 73132
     1477 Drew Avenue, Suite 106
 2   Davis, California 95618
     (530) 756-7774
 3
     Attorney for Defendant
 4   TANISHA RENEE SIMPSON
 5
                            UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF CALIFORNIA
 7

 8

 9
     UNITED STATES OF AMERICA
                                                     )   Case No.: CR S-07-302 GEB
                    Plaintiff,                       )
10
                                                     )   STIPULATION AND [PROPOSED] ORDER
            vs.                                      )
11
                                                     )   CONTINUING SENTENCING AND
     JAMOL DEVON BARKER, et. al.,                    )   SETTING SCHEDULE FOR DISCLOSURE
12
                                                     )   OF THE PRESENTENCE REPORT AND
                    Defendants.                      )
13                                                       FILING OF OBJECTIONS
                                                     )
14

15

16
                    It is hereby stipulated and agreed to between the United States of America
17
     through Kenneth J. Melikian, Assistant United States Attorney, and defendant, TANISHA
18

19   RENEE SIMPSON, by and through her counsel, Lindsay Anne Weston, that the sentencing
20
     hearing in this matter currently scheduled for Friday, September 26, 2008, at 9:00 a.m. be
21
     continued to November 14, 2008, at 9:00 a.m.
22

23          The basis for this request is to allow defense counsel additional time to complete

24   necessary investigation and preparation before the pre-sentence interview.
25
            The parties further stipulate to the following schedule for disclosure of the presentence
26
     report and the filing of objections:
27

28          Disclosure of draft pre-sentence report to the parties:      October 10, 2008




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            Written objections to draft pre-sentence report filed:      October 17, 2008
 1

 2          Disclosure and filing of final pre-sentence report:         October 24, 2008
 3
            Motion for correction of pre-sentence report filed:         October 31, 2008
 4
            Reply or statement of no opposition:                        November 7, 2008
 5

 6   DATED: July 24, 2008                          Respectfully submitted,

 7                                                 /s/Lindsay Weston
 8                                                 _________________________________
                                                   LINDSAY ANNE WESTON
 9                                                 Attorney for Defendant
10
                                                   TANISHA RENEE SIMPSON

11
     Date: July 24, 2008                           MCGREGOR W. SCOTT
12
                                                   United States Attorney
13
                                                   /s/ Lindsay Weston for
14
                                                   _______________________________
15                                                 KENNETH J. MELIKIAN
                                                   Assistant United States Attorney
16                                                 Per telephonic authority
17

18

19

20                                         ORDER
21
     IT IS SO ORDRED.
22
     Dated: 7/25/08                                ______________________________
23
                                                   GARLAND E. BURRELL, JR.
24                                                 United States District Judge

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